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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                for the

                                            NORTHERN DISTRICT OF FLORIDA
                    United States of America                      )
                               v.                                 )
                        LARRY LEWIS                               )   Case No: 3:99cr30-05
                                                                  )   USM No: 07317-003
Date of Previous Judgment:          October 20, 1999              )   Chad Van Cleave
(Use Date of Last Amended Judgment if Applicable)                 )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of : the defendant 9 the Director of the Bureau of Prisons 9 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       9 DENIED. : GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 360        months is reduced to 324 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    42            Amended Offense Level:                                             40
Criminal History Category: II            Criminal History Category:                                         II
                            360
Previous Guideline Range: mos.  to Life  Amended Guideline Range:                                           324       to 405 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
: The reduced sentence is within the amended guideline range.
9 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
9 Other (explain):
III. ADDITIONAL COMMENTS



Except as provided above, all provisions of the judgment dated October 20, 1999                  shall remain in effect.
IT IS SO ORDERED.


Order Date:          June 18, 2009                                    /s/ Roger Vinson
                                                                                               Judge’s signature


Effective Date:                                                       Roger Vinson, Senior United States District Judge
                     (if different from order date)                                          Printed name and title
